      Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 1 of 22 PageID: 1


                          lhxI,~o S\?i-,\'.:_,S ~,s-n~. \c.--r C.ou~T'
                      (DlZ. ,\..\~ ti,sT\(,\C\ o(: }-\f..w j '212..S:.'<..>f
                            C.Pl\""{\\)~\-4   \f   \C. \       N~   G,,~




        ✓.                                                          C\ \/ ,L   /\ci1Di"1       ~o. ___
G~R'1       M. Ll\hl\L:7i\!'1                                                        RECEIVED
,-1\~Rc..us D. \\\c..'ls                                                                        24 2020
\1'l \ L\_ \f.. ~o ~ \j s                                                      I a,::
                                                                               L.,
                                                                                     AT
                                                                                          WILLIAM T. WALSH-M
:fD \\w. ~ow~LL                                                                               CLERK

:J°D\--\~ Wu
:fb \\ N ·bo ~ ~ 1 ~. D . C.. , \.\ ~~ \1\\ S~Q. \HG\L                          t, ~.
S\\ ~~\\Pt LAT\ 'N\DR~ - C. D\ \ \ E~ "~D                  I


-5~~0. \ ~~?... ~~Q_ \z..,S,A-D
\J\C..\DQ\~         t)' ~'ffi\C...O
-:S,lL1P-N. \i\"1hl~R
'~ ~ ,-r \.-\ ~ w s,. c..\-\ u l l f._V_ \/
·, \\ D\J\ ~ 6, ~ £.. \<.. e,, £.
 /\ D-T \\o ~'--/ ,\\ a rn h S>
SDu,\-\ woo\Js s-n~~                 ~\SD~
~~uJ S~Rs~'-\ t)\L"?~e_-ry,(\€:.~ o(= toRRE.-cna,-1s
U t-:l \ "1 ,£_\Z_ c; \"T'i, C:.D \2.. \z~c.,-nb W~ \ \.\ E..\l\ \W t\\R ~
A. tJ. & £. L ~ --rH-o M PrS.
Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 2 of 22 PageID: 2




    6.     If you cannot prepay the $400.00 fee, you may request permission to
    proceed in forma pauperis in accordance with the procedures set forth in
    the· applicaticn to prnceed in forma pauperis. See 28 U.S.C. §1915. (If
    there is more than one plaintiff, each plaintiff must separately request
    permission to proceed in forma pauperis.)
                                   '
    7.    If you are given permission to proceed in forma pauperfs, the $50·.oo
    .~.dmin:strative Fee will not be assessed. The Clerk wiil prepare and issue a
    copy of the summons fer each defendant. The copies of summonses and the
    copies of the complaint which you have submitted will be forwarded by the
   Cl~rk to the United States Marshal, who is responsible for service. The
   Marshal has USM-285 forms you must complete so that the ~a~hA_I can
   locate and serve each defendant. If the forms are sent to yfi'b,"o/ov         rmilt V E D
   complete them in full and return the forms to the Marshal.
                                                                          MAR 2 4 2020
                                                                       ATS:30_     .
                                       QUESTIONS TO BE ANSWERED          WILLIAM T. WALSH M
                                                                                CLERK
   la.        Jurisdiction is asserted pursuant to (.CHECK ONE)
              ✓     42 U.S.C. §1983 (app!ies to state prisoners)

                    Bivens v. Six Unknown Named Agents of Fed. Bureau of
                    Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies
                    t •- federal prisoners)
             If you want to assert jurisdiction under different or additional
             statutes, list these below·:



  lb.     Indicate whether you are a prisoner or other confined person as
          follows:

                Pretrial detainee

          _     Civilly-committed detainee

          _    Immigration detainee

          j_ Con"Victed and sentenced state prisoner
         _     Convicted and sentenced federal prisoner

         _     Other: (please explain) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


DNJ-ProSe-006-ProSePrisCvRghtsCmpFrm-s:rANDARD-(Rev.05-2013)                       Page I




                                                          2
         Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 3 of 22 PageID: 3




       --n\\s. C.Ou QT             ~~s,   'S0\2.\ b   \ c__ -no~ '?o \<..Su~'\' ,o 28.                 u~ S, c.,, _ ~ \ '?)3 \
 ~~\) i \'?)lo1 (\S ~ ~<e..SuL\                       D(:,    t)~~t.,~t)      ~~,'S -::fOll-IT ~1'1b/ OR- 1µ-

                 ?i-L                \~ \l \ DLPtr\ ON o~ 'y\ A-, \\l\\ ~ ~ s                    1:<\ ~vtr ~ \.H~b ~'2- ~s
                                                                                          1
 ~\.--J \DD              ~6 s

 ~\\2..S\", ~\e:,.\Ji-nA,          ~uD    ~o\)~\\t_,\!_,\~-n\          ~rn~~ \'{\~\'\--ts          o~ \\\~ G~ \\\z..-D
 s-n~--f(L S         tD,~ s, 1.\ \)\, DN ~        ,,,\....~         -r.·-r.   D~   1\\~       ~'\'{\8L\Cf¼lS     w \,\.\
 'b,~'Pt~ ,\ ,T-1             ~6    lr\t hJ     '--\'2-- \J · s, G.       ~ \2\    o l ~ S~Q, ~s 'rflPI-D£.
 ~t>"? l \ ~ Pr '2::i \..,~   , D \\\: \(_ \ ~ b \ \j , b u           ~L      S't"+>.'T\Ls     b '--1 -n--\:E.. ~ Ou 0~8'\-
,\\      !\rn~N-bt-f\~ili o~ \\\:~ \JN\"f\z..,'L:> Ss\\~~\"t,,,S CDNS:.'"f\1uT,0N,                                      M"D
Su~\) \,L- \N\ ~ \1'\ ~L Si--r\¥\"£. ~                           clfl, \"\f\ S:, ·'?uR suf\N, --rD ,\A~ NiuJ
-s~\2-SE..'-l ~''-HL \<..\<=~s i+G                           l ~:S-C-\2-Pi)') ~10."'D "?u12st1~1'1, --ro 1--\2
\J,$.C...       s    \C\<t3) S \C\~'-\ /)c~CJ S\C\~lo-




                                                                3
    Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 4 of 22 PageID: 4




i

            2.         Previousl)t Dismissed Federal Civil Actions or Appeals

                      If you ore proceeding in forma pauperis, list each civii action or app~ai
                      _you have brought in a federal court while you were incarcerated or
                       detained in any facility, that was dismissed as frivolous or malicious, or
                       for failure to state a claim upon which relief may be granted. Please
                       note that a pr!soner who has on three or more prior occasions, whiie
                       detained in any faciiity, brought an action or appeai in a fecierai court
                      that was dismissed as frivolous or malicious, or for failure to state a
                      claim upon which reii~f may be grant~d, will be denied in forma
                      pauperis status unless that prisoner is under imminent danger of
                      serious physical injury. See 28 U.S.C. § 1915(9).

        a.            Parties to previous lawsuit:
                      Pl~intiff(s): ________________________


                  Defendant(s): _______________________


       b.         Court and docket number: --,-...,..,......,-------,------------

       C.         Grounds for dismissal: ( )                frivolous      ( ) malicious

                                                   ( )     failure to state a claim upon which relief
                                                           may- be granted

      d.          Approximate date of filing lawsuit: _______________

      e.         Approximate date of disposition: ________________

                 If there is more than one civil action or appeal, describe the additional
                 civil actions er appeals using this same format on separate sheets.

      3.         Place of Present Confinement?               Soul}\       \1-)00DS <;TB:-n2..   WI SON
     4.          Parties

                 (In item (a) below, place y9ur name in the first blank and place your
                 present address in the second blank. Do the same for additional
                 Plaintiffs, if any.)

                 a.       Na me of plaintiff :__f_·'2.~\c.,_\-\-+-'---\ ~~£~}~;·________
     DNJ-ProSe-006-ProSePrisCvRghtsCmpFnn-STANDARD-(Rev.05-2013)                                    Page I
Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 5 of 22 PageID: 5




                       Address: L\        5 BuR.l.1N~1:01J l<_t) $D.                     hR,\D(..,.f:rDN 1       )-J0 O~3O2-
                       Inmate#:          (o(o 35 og-/ IY to99 ~ ~

               b.      First defendant:

                       Name: ~l=\Rj             V\ -Ll\l'-l\ C;,&' I~
                      Official position: Nv,\ >,J ~v:2.._5,£.,'--\ D£XPtl?-TrO~-ITT                 o~ C:, ON"\ \'Al sso,-1~2..
                      Place of employment:               \N \.\ ,,,\__£.$~:! Kb. ,\<£-N,t01"1 1 1--\ ·J. oib2..S
                      How is this person involved in the case?

                        (i.e., what are i'OL! alleging that this person did or did not do that
                       violated your constitutionai rights?j
           C.o'<'I\M, ss,o 1/-\ v,e:\~ oQ. \\\-'c.- Ni.S. \:) .o.c.,. \).)\Ci-S, :ffi§c.... c:. o\J~g..i'-4 ,"<'. i;;__'t--\.1p..-\
           o!;:;(\ c,,1e,-\ \>,)\\-() \>.}%:;~ r~ C½~QL-k.., D£ 'ill:L O?~ Q..9--nDµ f>,--\~t;> 1j\ft11'1T0-\~~cf_
           09: fir\\ o\'- mST,, ~<,c,.,w ~\i-_\?..fz~'::I J>9-1s,011 H-~LG\Jt:>il-1(,.. -~-SD\--\ \-Wt..><;u,\.~
          o(:- \t-:\\"i\£S'5:~~s \µ\'W<: \')\S,·1-',-b\\\\\~C,,          ('p'<-1\Y\':[ \µ\\\-\-- l\:b&.

           c.        Second defendant:

                     Name:      }J\ Q.-\2.C \,) S O. \-\ \C 't-s.
                     Official position:        }\,:S-. C.o~l?,£C.:f\DN'> Co\'f\rAV$S\Dl'182..
                     Place of employment:W~nT\Sr S.~.>-1                            ~b. \\cfJ:Jt:•N; ~:S- Dilo7.6
                     How is this person involved in the case?

                     (i.e., what are you ·alleging that this person did or did not do that
                     violated your constitutional rights?)

         C0~'\{\N\ \ S,<f,\b (0 ~g.,   p~ n\~.... ~ ~-     IJ. D, C, -       J\\\t__, r-r9\JlrX.N N\~w.T p,.-l ol=t:1cl~,
                                                                         Q)\¥.,.,

                                    oJi: :n\;\:,
         1,-)~o \0'£,:S ,B c~\?--1'--v                       D1?w'-i?A:f\D\--\ 1\-N-D N\ P,.-11..xn,_1'-JA(\\e.~ O~ A-ll
         t)~    ~\7 ,~v,w §\,RSv>I ?12.,sDN ,we.lo:p\qc:., 'y:\'2.1s;o,~ H:ous.ttK.,... Dt=- .1~M~-r-,2.,s,
         \))\UA: D\S~~\\11\v...,.S         C',..o~~v-r   \).J~T\.\- f\:-bf).

         d.         · If there are more than two defendants, attach a separate
                     sheet. For each defendant specify: (1) name, (2) official
                     position, (3) place of employment, and (4) involvement of
                     the defendant.



DNJ-ProSe-006-ProSePrisCvRghtsCmpFnn-STANDARD-(Rev.O5-2O13)                                                       Page•




                                                               5
         Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 6 of 22 PageID: 6




             ~Pil'f\~ ~      \J--1, LL\ \L '60 ~ \) S
            D~tlc.\Pr\ Vo~\"flOW~ l\DN'\\l'-\\S\R.~TO~                         s.w.S, '?.
          l=>\~c.1c. D~ f_\"f\\J\b'J \i\~N\:           'N \\ \\\l,v..,~v..>l    \G). T\2£.N-,D ~-L ~ ~ · oi/o2S
 1
     %2PoNe;.\?;)\\,::rJ       W'A--S., ND1 L\~\1£,D T0 1 Tt-\~ DPf;&&;,lDN f\-N\) >\lt'iS<,\J\S.loN ol:

 . 1\\-£ CoR~fuTtol'-\ o,J\c: 82..$ 1 c,\/, L,w:1;,,                A-b\Q n\osf -10~..\: D oJU..s,., ~Mt>\o':lffi
    i>r-r ~.w ,q,.?




 ~.       ~DD(l:'\~        b~Q~\--\0 ~0\ ~.

          ~!\\'<\ v_:.,   :1D \-\ µ_ YD w \r..J.L
          o~~,cxPr-\ ~osxt\D~·-               U\:DW'l\\.i\'S'\~~,..,o\<-       s. ~. s.'?.
         P\ \\CL   Dt" ~['{\Y\b'I row·c         Soo,~ WtoC)':] S.1P.-'llr..., Y\<.\SDI-J, '2.\5 Bue..l\lJG:,,tD N
                                               \ZD Sb. ~\~L~o~. \\J .J. D%~b2

X--£5?DtV?z \~\\q-'/          \).)'(+>·   N.DI \,\\)\\'\£DID, T\.\-It,. O\i3r]s-~:noN A-ND Sut3ZR-,ug.101J oP
1\\-v:    CD\2-\2,1£,,e,r)I) N D£0\Cx.&S). ~\\.Jl Lu?r-1--\S) A-ND :fl-\-0$£, W/i:O l.ulyl,£,. f.m,P/Dl/C,D
                                                           L
. -AoMUfJ h<a. ro ('I\-\) -s-Brn 1-fffµ. IN'?:\Wl-0'3?:LL                \-\!i'J \ <J.ts\KX ,r'l '.:3/~'S"t.'?).\"--O       a™
    '35,\(\~0<s q,l..           hThQ    ~~ ~             q\M      C-c\·'b·('f\·~ .-1.~ i}.U.J.."J3~\~             \kti-::,,G~\A
            q___' S 1 \'(\ 'S    \><l'"J\~3\p\       ~Q "30}_~--z:\\~ '. '\'\C\U\'SClQ \""\\"J'jjQ
                                              o~\\\O":J--~'"tio\NI'.\.~                     ~~,c\?>~S        .~.~\)"icttt
                                                                             ·. )}\'\)rj G ~ ~?>~              \\,.L)(' "S       ,~
                                                                                                                     7
               3:Jfl'Tu'3d:j\QNI ~_BA----J3'til \=!Q ~:g (Yi Wou..~ . f'\0lGii)\                                         jl (\~
     Q700f\"S     (\O_h.'JC)Q_ --ij    <AI.   '.l,'3\\)_ --;> \-"')"tf51ti    Q\'1\J /. S..)..?-§:\~ (S'th\~                "Yl\l
     h"N.3Q oI         h-:,, \<J<l_    'JG <:\..£\'l J.d cr2\J:c,.J.'3!'£Nl · ilo.-l.·::r2r~\\Q f¾;:lN,LY~rc\_·
   .--~3\t-L , f'l o            ,..l., Ct'-\CQ y--,a:>, er.Aw   -\I s..--'Q <:\c.·(~V-J      cf™~1.N ()'JO<:\               ',)~~ ·
    S---r.OJia -~" '\'I0)-~'31- ''1--zi \.~'7?1"\11'\\c<\ :)..."\':)~r-SJ\6__\)0) -jo ~'J\i\~
                                                                                    0
                       \,Jij_-:)\Cl'?l\r\._ ""?01,~c\\Q \-\\\"\ \~'j'zi                 •   f\0\~\S0Q \~\'J\jjO
                                                                              <;\   0\       ~   \\ o_s:::, \ ?)\>-\~ \'I
     Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 7 of 22 PageID: 7
         Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 8 of 22 PageID: 8




 \-\ .     SL\\ f.. \s.l \ \\   }J Lt~,~t:i ~1'1 \ ·.

           ~/\N\~:         -:Jo\J.~    ·bD'c..~ \

           D\-~\c:JPr\      Vosct\01l~ b,          D. ( \-\£.1\\-r\\     S~\2..'\J\(,f, ·l)\R~c,To\2..

           Vl~£..     D~ ~t{\V\b'-l\i\~\,ff:     w~ n-fl'LS~~      \<.b. \R\Z..~Ot-L W· 0, D<?;b2-5
'{~l)u)       Q\L. 5:,~D0Lb       llic,-\l~ \<-\-\oust,\,    Th\'\-t fir½ \±~N:m           ~£}2-\J\C..,L
 j)\Q..:51:,e:X-o'Z- aG D'l:?~\?.-'"\'ffi¼MT o\?- e.o~:£,e...::tLoBS :t() \N9,T,·{\>"T°~, aR
. :v·G:-\ A: ~Tlf\:N,S)'4-\2,D       ~,2._ i±(L N{r,u.J       uvLSfb'1   ::r:o /\P~\'I N0bDG
1>0\,c.,~ to, h~'-l C,sro \)\~ts,                       A-\\lD A:LL£,,12-&~e.,     t,~T~              ,o A-Uu
:t:N M ~T,q}~? \S.          tnz:,b E>.E.e&t£, ,N D, Q-Al-hlc€.., ro          ~f.R, i D. o ~ M (.,o t (;wl
·\-,1\L~l)~.

-.I..~ ~\G\--\~\\ ~\C_,~~\~D~~-<:
          N~m~: S:.~~'2-\T~ LA:t,f'(\otc.E... - C-o\\\~i?..
          oF~ \c, 1. ~ \ ~ os y··n o,'1. : s ;-w .s .~ . m\{,\) \ cA~-\ b       \\?-..\{., Cfb \2..

          ."?\~c_~   D~ ~\\'\y\a'-1 X\'\~T ~ "L\5       ~\)\<.L\\s.\<.:-,o~ tt> ~6. -'6~\)()i-TDl-i.
                                                    ~ .'S.   l)i~o2-
      Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 9 of 22 PageID: 9




:S"        l\l U-.\\~. b ~~~,~~~~'\•a
           "1 Pt\\\ \t:., ~. S ~ ~\-l , ~ ~1c ~ PIR. 'ic.. s-r?ib
           o~ttC-\A\ "vtis,-r\'Ol'-1·. s.w.s~,-                          N0Rcs.\{., ·?f..\\\lD\"1ER

          ?\\\c..£. o\= '(:_,f\\Y\D'-1,"'\\~,: L\5 \?:i\)\2'..L\1~C..T0t--'1 Rb~- -~\2.\D~1DN
                                                           ~     _--s,   0 %~0'2.-

 Pre :Cl b u'1 \\-'.AS> $u ~""3'5=:Ci(Q> y\ 'A-\ 1:4,1:\ ~Q ·'.to Co 12 'LL. ~ - - \ >INV       $\ llPrA   Po~
c,CJ\".\ s :r: \::Cv §"§ 0 ::S::>:£..\ \ ~ ,M:'i,., :z: ~ u, (:; £~1,?£,1\.l c.. £.') £ \ c.;.l}rtl A-:IYl END U'{l wr
.\hD\   \+-'f:\Q\,\     o\.cL\)t:)\\i(,:::   -n-\'{L   ~'M\£12,,\C'&::N      \i,)\t\A   \J\<?,;,'Bt\~d1T\'l....$   A-cci




~- \ '-N'\\\. b~\\:. \.\t)~:
        \~ I\ \i\f,'.     \~ \ c,D R-\ ~ .t) ~ ffi \ C, 0                                          I·


        D~~\C, \-~\ ~D<;\\\ D~:                  s. \J .S, ,\',      N01?.S£. \')RPI C..\\    -r, Df-1\£~
        ?\ \:)..c_~       D~   ~rn~\t:i~J 'rnf-N-T·. '2.l5 '60\2.LLWC:.-"TON. Rb~.                      ~\\J&~b~
                                                          N.S. D8~D)_
 }(~Dw DR.. $~ o'2 lt) ~ - & , 'l.NDu)                     \\l     ~c\1 ON· DP C..-\Gv\? 1l ~D \J ~U5J.>P--l

1\ 2wts; UM£ "''r                        Dv:,,\. lP> UVt-'tv, 1~ u, t:~ENcE. , :f,1 c..1-}-rld: A-roruo--.
                               c,()N s-r:, :cv•cfuo
 Nw:.w:r      \l\o\-l?i:DDN, Dlliy)c. \hD\\f.\...·noNs;.; Dti:.T&:111-c:.,p ,rv Coyv1,P/r:,-1t--rTs..




                                                            q
                                                                  0\
  Q-3 \ \"'1..t3Q ~3 t\lO         t\.-ll (t\   '31(\nCJj l'N?\W.l.-tj'j\cl_L \--B·-::)\~\N            '\7~ 33'-5 ~ 2:\1',.Q
            c~w    ~51 /\~_3dnS          0.-1..   7'I<V~ 3--\\.I         ®\\ ~- ~- ~., ['<\ · <G    -jO ~O.1.'??:\--z.\\(1/
~()$.\f'c.\'3305          f\I\~ \--0~\'1-"3 w "S¾ ("lcnot-J?\                         :.kf'B-t\   C\1CIO{\~     c\O 0"\C\\"l)\
                                               -z. Q<r..i\) ._s;· ~
    'iiqJ_"?.!=:JCU·c)~   ·os Q'a    '\'IO+j~\'l?J<:\~ S\-Z :)-1'\3\}.\               "Q\~'0-.\~      jCJ    5"J~\c\_
        clQ~cj_\~-            ~\\1'3\-\ l\J:..L\'t~ -~-~-f<\•S                        -:~Q )j_\CSQQ_ rol'J\::)-jO
                                                                J--~ \\ 0 'f(.'JS      \'A 3\\ JJ-~   \r\ ·. '?) \J-l ~\'I
                                                                            :J_~~   o~~~(\            ~     J \ ~fI'-J_          "IN
      f\/   o ,n, o, ;v     No 1J:1 CJct--tf      G.N-¼ · .J..\\l"3J\U ct\\f.:1Wt,1   tutrJ v3 ' J..tw3W\\<"{, ,,\'\ c\\
7kJfi7S()fYn-· aN-tJ '(.3CYcl~ --j o fJ()\I"J-¾ NOl<J~?{ '31\'l'tjff\ (f-~ C1CJ3<'ts i\o 0\0\'i7\
                                           -Z.Q~i()          ·.s:· \'1
     )"Ql...~~Ql~~ '0'$ ~cl \'~0.i:---:n,1\7cJC'i~             g,-r      :l.'M'"::\W /,G\a._'JJ'"3. jG --~rJ'\:)\d_
                          -s .J._s 1. t'l()'J.YaJ...0\'\ ·q__·s·~·s :~au..,soc\__                      \10Y:J\jjG
                                                                    c :1 t'1 ~ 1 l.. "'1 \ '"Y\ \ _s:. : '?) w ti f'\
                                                                         ·.)..°'\'\~ G~:) ~,(_\ \1..L\'\:i J\ ~ \    3       I   7
    Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 10 of 22 PageID: 10
      Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 11 of 22 PageID: 11




 N.    ~ ,\Z ·, 'L \:,_,~T\-\ b~ \-S ~t::i ~w:r- ·_
        "-l Pc,"'<\~·.     ' \ \ \ D \'Y\ \\ S   ~~\2-. ~ '0

        O~\:\cd~\              ~OS\"\\DN:           S.\>J,~,"? \V\~ ·vs'-lc\\\~T(2..\C
       ~\~c...v__        D~      \:_\'{\~\D'-/N\~~ .. 2\S b\JR..L\\-.\~10N. \<!) ii),                 ~~\\)l,:,-'\t..,TD~

                                                            N,:J, Di~b2-

\l\'-\oW    ()\Q_                                       TU-&-r \!+\ $ &et1 ON 1\-bA D\>l\lt t::o
                      S.\-tot) G!) \+:'A-'J\£.. \:LN ow W
  ~~,\) s:A, i+ND \.2 t--l \J sc JP<\ f?vrtJ ,st\- M1tA,1T , b tz:L, ~~£-'Q;[R, ~--1J~i)ig;_x:,g,__f)lef.
'"tQ S~\<. \Q\,)S, M§lY))G\0.--\ ~££DSJ £,\ wrr:\:: A--'Mer-Jl) fY\f.,l\)T          cd &T/01\,l.       ,r,


0, (Du\2·\~t~~-n\_                      \)~~N.\.::>i¾~·.
      ,~ ~'N\ ~ ••          -~   ~ C:,- ~l?r     T\-\ om ~ S
      D ~ (2 \ C... t P>.-\ VD<;\ T\ D \-1 ·. _S, \}j , S        .? ,   ~l) R-S ~     t>R-Ac..\ \T \ 0 ~ tt-
      '?\ 'PrC.. 'L      D\2- 't_ m\>\D \./1'<\ \'.Ll-1\'. 2-\ $ bl.)\2..L\\'1C,,.,1bt-l K\)   ~0-   ~(2_\. D<::,.-~-'("o   1--l
                                                          ~.2). Di~D 2-




                                                                 \\
       Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 12 of 22 PageID: 12



"?.     (\y-,~~~t\\                       \jv_~\t_.,t\\)~~+~t"·.
         N?r\'f\ ~ \             ~~\\\      o ~"'I    ,\\C)N\ ~s
         D~\\c_\tx\ VDS\T\bt-.\', S.\IIJ·S,}' D~b01YS,YY\~~ ~6?- l'(\k.-t)\GR'l
         l=>\ ~c\"2., o~ \t.,N\ ~\t),J 'flf\~N.,; 2,s 61.:>~Lt\-l~Tt>N ·ib to .. b~,'O~E.,\i)1'J,
                                                  .N-0. · D&:)oz.
                             •            • •           .              I                      •        l
. ¥,\-..\\)y_\ D\L,   '.Z>\\ovkI) \k.,'1:e,           -~N,Qlt)N r        fxS N\tz..D \e.,,A,:( Oro B u,D M &"-l
 ~\S,     \u~J\,) '.?,lfv\       :::tQ   'f-rC,T OR         \l\l'\~12,,,1\cN\0 :ro \.+tr.X? J\:MDl>N'C TD c,,~uct.,
 ~D \h.\V>?v&.\ .Pu~L~\troEI;d\}r, ID h\£Lt'&£,£&T~ ~o,cg£!<.-ENC,£, :to
S~\Z.,Du::, ti\~t> 1c&:\ t---\~~DS.                           Qe-:\\n-M-r A--t     'l-±1~   Q-'bS.i&NED     bL.iTY.




~ S \ tl~Ji ~,~ \)~\-~\--\t> 1\-N.\:
      ~?r\'{\~ ·.       So0--n\                 \we)ot>S ~t~,(.. V\2-\ sot-1
       D~~\C\Pi--\ ~os rT\ DtJ:                       \>~Q__~ DQ--         b~1\J'0J-~,"l\~--Ji\l\ a'< Co¥'.-e\z:..C-nDNic:;

      ·v\'Ack.        0(2.   ~N\V\ti'/roW\',                  '2.\S bu\l.L\1'\C,,.To!-i 'QD ~D. b\L\b~t10~         ~.:} ..
                                                              Q~'2:,02

.\<.-1'-lo u) DR.. »¼outJ>
 ~ b PRDT'£f~;
. , \>\ b, PQv:,e.£,f1c£.. ::t{) sJi'...©
                                         (AJ> A-)
                                                 !\>A-\l~
                                                        \t-.l'N\?s--T'Sf:_,~)
                                                        au~      M£A> ,c.-&\
                                                                                ,b
                                                              '¼-NDwN. , -\\:'A:\)      r+- Du~ ::ro S.'\Dc.-.\ftc~
                                                                                      StDP b£.-l-\ ~£.,~T£_.,
                                                                                  tJtf_t>s. A-ND W-£"J P , t--tMA--rE=-s
_A-St l w vJ'>         tP        IB~-Hl..         Ck\-R-€.,




                                                                     \i
           Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 13 of 22 PageID: 13




 R. <s·~\)~Nt\lc..\:~l'-lT\\ bf.\-~~~t>P>rN.\•:
            ~ ~,'{\~_:. ~~w ~x:.\(..,s0-1 "t~f>t~n\8~, o~ eo~~t__oN,s
           · o ~~ l c..l ?i- \ ·~os \Tl D N~ -~...:........o..R. .\. . . .S""""o'
                                                                          . . -'~--"--l: s , = - - - - - - -
           V\ \\C~ D~ ~\"(\~\D'-1 \"\\~\-tr'·. W~\\\ Lv....S,,~'i RD, '\\Z.~1~,Di-\1 \--\-:r, Dib2.S

    \~)'.\-\)'f_ Gis::     D,rcY
                               TD \>e-o--CLw 1±-LL :C\-1 ffi&:t:£.,~ A-,<;> l(.,.,N E',D                                    ,o
  :J\-\-£J ~- %\?£,, m> Bsz,, ?>~QE< 1½-t Mk :r1 M Ju~ . ~bf} :tO BIL ::fREl}Tffi
  ~1\-:\R,\~ 1 1) k"A \S?> ~:{2.,?-t:£: \J\\b ,£P£R£1J.CL- IVND C,Y2.Jl ir:,L A1'.\D llAUJSLJA--/_
   t\) hl \ s. \\-N\~:cl:C :ro            '°",,
                                        U.-'A-NI)ffi }xN() S:,~                           1?£IZ..\I £,N.T£D          G-&a"'-"tY)_.____,....
   14, c.,c., \)Q_u-J G-- ~'--\ e,o N\ M\ sS tDN.&e-




  ~h       ~,    ~\-\-rf..~\-lm 'b~\-~\~b ~~-r-.
            ~\.lie\\\~.:. \.SN.\ \i ~\2.S ,-rl ~RR\!..C.,\l () ~ ~L \.\<c.-~\ -ru               0.,~\(..L

            0 ~~ \C..U~ \ Vt)S \'\\ DW. ". 0~£..'Z.~~c:;. ~~ \'\\~ \t,\Dr,\                  ~~C.,\ \ \ \ , (c__,S  k\
                                                  S, W . Cs . t> , l)~ \<- \.)\ (:;-tZ.S \) ~ \ '-J <c.,\"2.$ 1,'-{ -
l>J~le., \\- \S:. Pr- °?i&XLT 0P \?-v,G,.,£A2=-S, l2N\\J£i2.->\IY 1 0P£:-12-e:-T£,<':. :rt\-E--

-~\2-
N\\tS)\C,Pr:\ 0-A:c.\)r-r:,~)> f+r A-LL tJ-~- P12-:l7:-0N :DJcL-uDuJ.G- ~.w.s.p,


 ✓ \ o l £-tin I\\ o £
                       Rf-.>PoNS,\ B, ht\£,S,              TO      ~£ ii        \-\:£. Lb     lk..c-01rh-.lTAc-B\V,, IP_oJ2-_
                               --r\\-£-\(L ~rnP \o ~t v'.&s , S.uP \t".,R\1, s. £ , 1 Mffi\C\(\.. l            Di R£,c.,To e... 6K-

tis-N:'1    Dl"li<   DNDC?2.       rt\:v:1e     CA2tsrg,,&cr.101rl± U}£,                     \'-lllill...) ,Tv:J2_,s,~>-l b£.t?AR:r-
 ti\R JNT° D ~ 0o \Z-R.1l &TI oIN 3 .
Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 14 of 22 PageID: 14




        5.        I previously have sought informal or formal relief from the appropriate
                  administrative officials regarding the acts complained of in the
                  Statement of Ciaims on page 6.

                 j_Yes                    No

                 I (:, ··-u- ---,,.,-;. ·rs "V--
                       yv ., 011~Y~c1        rt::~,
                                                    11
                                                       1-r,'-r1f\/
                                                       u    t:: 1 d:::.srr1"h:. t,- _c::t::>.nc::
                                                                    '"' -. __ t~,a        -.-- t--:-'Ki=-n
                                                                                                  ~o _ 1, inr-lua··1ng
                                                                                                           . ,_        n', 0\"",.1
                 relief was sought, from whom you sought relief, and the results.

               S£..'-.I ~\<.~ L :I NQ \..) \ \2..is) \?,£,Ii\ ~D '{ £D12-t<\S. 1 A:N D C,'R, ~ \l ~N c,~s,, ~\Zo""
               ~•\>-LS.~- I\DN\,~ 1.s.-rRA-:toKi P£/2'1.c. J-l~f-i Mt\ \?s '-I c.\-\ U:\-,12'.,\ c> r:<W.t:i1C-fTl
               b\E-£.&TO(G I\S ,>:-)~\l. ttS l-A\'H?,S~ ·Y?.&c:o,\ol::\£)2_ \.()~\"2..v,... J)ocomv,tJ."fS
               \)..)\\\ C.0\~~\Q...\'\{\ -nw. .
                                         ~ ££~0SG<tD l\c:r et\½\ ~G,, PP.IN- f-.¾D Su£t8.'1<"\1'1:G
                If your answer is "No:'' briefly explain why administrative remedies
                were not exhausted.




   6.          Statement of Claims

              (State here as briefly as possible the facts of your case. Describe how
              each defendant violated your rights, giving dates and places. If you do
              not specify how each defendant violated your rights and the date(s)
              and place of the violationsr your complaint may be dismissed. Include
             also the names of other persons who are involved, including dates and
             places. Do not give any legal arguments or cite any cases or statutes.
             If you intend to allege a number of related claims, number and set
             forth each claim in a separate paragraph. Use as much space as you
             need ..A.ttach a separate sheet if necessary.)

                                                f \RS,           C-ou 1-.l\

             ,). ·y\~,l\l-r,££ ,s rr~ ,!>\roPr,~- ~T SD0IB woo\)s s;rPr,£~ tk1so,11l
             \\ £,\Z_ ~ \ N. s, '\cl " ~ '°?
                                 n        0  c.. \\ \5, Lu ('_~::fyh \ N ·5 ~ \\) (,.£ T <nL N12 H l
                                               0)   \~ \\ \

             3f..R.Sv,,..,'-f.



 DNJ-ProSe-006-ProSePrisCvRghtsCmpFrrn-STANDARD·{Rev.05-2013)                                                          Pagel




                                                                \'-\
         Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 15 of 22 PageID: 15


               c..~ I\R~v__D w,,\\ ~~                         R~s;"?D\.\ '::,\\::>\\\\~ -rD                   \'(\j).,.\   ~1""~\ \J_ ~LL ()~     1\\12.   ~Ew

 :Jf.\?-S£~ S-t'~-r~               ?R\SDN':) /:lc-~'D 'Tb rn~\(~ C.~\Z-\~\~                                          T\\,~, \\\~ VR\SON                ¼ou~\N-l-

 l)W, \'\S ~D~ \ \-.). \'{\~\lc..S             \0\\\\ ~,S~~\\ ,,,"LS LDct\y\_'-{                                            \D\-n\ \\-\~ ~f\\\::.\<..\ C:.PtN.S

 \N ,~\\ b, s ~ ~ ,\ (\'i                    ~C,\ D~                \<\C\ D    l     ~b Pi)        0




         .:>) ..    f\--r   ~ LL ·-r \'N\ \L,     \\&       ~ /1.;;Y\~'L V\ ~ N.--r \\::> ~f.D ; G:r f\\2..'-} 'Y\ . \...J:\ N, ~AM                         w Pi .s.
 ,IA~      CJ)ffi·('{'\, S:.S\0~~-'1- D(.2              1\\~           \~'c...\iJ   ~la<S~L\ D~VPrRT'N\~T                                 D~    C:o\<.R~.-c:no NG.,
  ,.r?   k¼'0         G )\l\\L s~~\y__,~ b\C..~                           2-s. 20,2;.                  ~\<; \'.>os.,·T\ b%..             w~s.      ~ss uN\\:..'D           ~"

 \J-Q._~E.,.~~ ~ \               '\J\ ~RC\JS D. \\,c'{..<1,. t\-s. ,\\~ Cb,t-rl'\\ \<?,,S\O ~ \r..Z..,                                       \Jf...,~~~D~-r          Vt \c.\(S,
 I\S,C.:,l)\"i\Y.-D    '.1\\~ ~~SVDN.$\~\\\\'i                           \}J'{¥,.1    \::)U) \-.lbT L\\'I\\'\~ ,D,                           ,\-¾\G D\\~J..'Pr\\D\-\
 ~ ,'1ti t('d~,\-l't"~~ ~~t, £.. D~ ~LL ~£..w                                 1t..~s~'-\            STPr-n'z_.             ~i2-\ so,~<;, . -~6-c\\ ~RS b~ t--\ \7

 ~u~D        \N-    11,~~v....       D   ~t,c:,\ 'A-\      t~Y ~c..\--T'-1.
          ~).        ~-r     ~Ll\\rn~ ~'l..R~\N. Pt~~ \'f\~"-l"\\Dl\l~D.                                                       w,Ll\E.... ~o~t)S. w~<;. i\\~
 ~L)'(>{\\N\S'\\<.?>'TOl<-           ti'r 2>.w,S.\'., \)\)                      1\\-\_t)         \.))\.\T\\..        ~\:..Y\'ic...\'{\~~~       2-5,    101&-.     m(~
-~os ,.-n r.:,N       \)_J~s,      ~s.s D!t{\~D         ·'\::>'-\    So\\~ '?o\00L. t-\s ~~                                         ~D t'(\\ l'i\ s--n:?. ~,o R-    0£..-
 Y~\~t:i f4.ill YowG...LL'~ '\(.-v_s?D 1-.1s, b,\,"0l WL!\--s,                                           I   ~b,             L, \'-(\\\SD To, -r8€... O~-
\ \ b1~ ~\-1\) 30~(..R\J \S\D~                            Dt" Th~             tD~\<..~C\lbtJ O~('.:\c..E...\<....Si C.\'-J\L\\'4\J.S.                        i     AND

·-r\\os~ w\\o W~\L~                      ~ffiY\o'-/~D ~, S,. \0.S.V.)

          S). A, f\LL                 \\\'{'i'L    \\~\L~,~ \\-\t-,~L                           ~~H"\\Dl'1~....D; \)\L\-wbP..Nt'"                   D\2.. -n\0~1'.\-S
 b~Q.G-L, t\?NC.., M~l-.1,~L                      u~,T\\ Ys'-\ c.i,?.,~\C,,                                      b1'1. ~t>.\"(\ \ \9.i "2,b]3 Pl2DScK.l~\L..D
\\\.,L t{\ffi\~?.-\\C)t--1 \'"TRA'Z...Dt:>b\--\~11 .. D'N. 0\)Nf... i.-i.olt ~\\:\-\,XT,~Q. \-\o-rtc..f__,                                                          P-..
 :S(..\.i °l(_R..~ ~Ps\\J.   ~\J\ "?R, ~~,s N\                                                    ~\:..C. ~\)';::,~ D? D~~~D WT rs ~~, \u~~
                                                                                        1
                                                               ll   t.\l~c...T\ON'          '



--rD \NiS,\cuc.T ffi\?.._ bN. ~~'?..\\'~0'2..~, De.. s~CD~'DPr?....,'--1                                                        £s::~~e-, o~           SQ\D        tKuc,,
.""\)\~\hl\\Y\-       \L)~C,,.   ·bu·rn~ 901-JQ\£..b                        ~l--\D    U--c.-"D \.lO \t)£p,_\                     w~~,       w'\\-S. u~~~\~G,.

 D~ :Su,~v.....     ct~ 1..D \~, V\ ~m \~~ ~bT, \:-\\!..D \'{\(:)~~\UC- mill lC~T'toN. ~\J\cS~, \?::,0'i"'                                                         \{£_\Jl
,~\L,¼.L ,~~\:) ,c.~,\b"-1 \)1~ '6~¥.,~bw,~, t\.\. G::-, ~W.b                                                   w~s.          Q.b S,~ -rD \\C>S      v,i'l?c-l ou
:1\JW.\1..... \\,   2..D\t       \)~\,~'it:2-P.'\"\L                'N.'t)\~Y-~\2-\i:...\'1.C..G°            S'"·q:,.. ~L)~~D          ~~?\\~ -ro 9.A\\o~L



                                                                                     \S
          Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 16 of 22 PageID: 16


          \ b \ 10. ~b\L'ct\ ~\ \c\-\\~ \.\-\- 6 ~                  ~b'\l'ti<..S~     C.01\\S\:..G.l 0 ~l-.1C..'2..,S:,. 0~           \'\\ffi\ C~t\OlJ.

          1o').    A, f:><lL      ·-r1 l'{\\t._. ~E..£_~\~ -r~"~~\(_ rn£..N"T\~\J s.u, ~t-~~ i+w.~)

 0~\°'\\'tJ?...s,,----1 ~KR~c..-·nD~f1'\                 ~~?r\-t\\        t?rRS l\)c.\\c...),            \)j\'.\\c.,~ \S          ~   Vf=\~ o~
·"R\.)\ C::-\z:..\2. <;, \J ,~, ~ ~s"I\~ , D7~V-~'\"~~s T\\~                   \\!\~'D ,c.,?r \     ~ i::i..c.., \ ,n v...,s PrT ~D~ \J-ro'D'S
. Si\M~ YR\SDN.
           1~. ~T         ~u- ·\\·~~s             i,L12.(L\ N ~Y\~Q.. '0\E-N.,\b~~~-                       bY-\-W~~--·r, VIPrTT~t:VJ
Sc..\\ Dlltc..R~          Wll\S/ \ s '1\\L Sl."\f.. Y\(i..~"fPr\              \-\'7-~\-n\ \)s'f ct.\_\ \'.:\T\2.lG b,R~c,o R-
 t\, ~\)\\.\. ~DGt>S S'\~'\'<L \¼.\SC)~ h\-l~                             w\\t> \.l.-~~ ,\.\~ \)I.)~ ,D S,u"\>£,R\J lS.\(__
 ~\~'2)   t:i\J'if.,\2..S~~    ~LL t'{\£.D\c.A-\ ,~'2:A,m'it.-\~--f \\\'A, wrb                          C...t\3f..\l--).   '6'i    ~~\b'--/E,E....

 C)~    U~\\c... ,o         \\~tl\-~'\'6s ~" So0Tµ_ \>2)0~°\:>S..                 s--r~E.... Vrc,,~DI-J.,
           g'). ~\ Pt-LL \\\'<l~S \\~\2-.~\~~~\~(L N\S\--.\--r\DNE.1---:>i °t)~~~D~                                                          b~-
'T\'.\Dffi?rS. '?:::i~IZ.c,,,~ /\"?~c.., ,J\v--"1T?r-\ ~~\\\\ YS'--\ c_~,~~ii.tc, A:c.:f\bNs                                           aG~   0uNC
 ~\ 1.D\\?;       v~   ~'Pi\\ \JIZ..E- TO \~~O'\l.x'<\ \')\\C'l--\1--\°\\~~ b~ ~t)\J\!_\<-S~ l:D\~S~_D_\)\z...\--.lC~S b(=-

\')\~\C..~\bµ c:..~0s~                     Y\~\~,(\~\-              -t°D <;D~~0?-- \Na s~\\\'.l_\<_~               Vr-.-nl        ~'2-0N\ CfLH--\~iJ
 'lo[~    'ID     3u~\L. \\_ 2D\<2;           e,~0t;,,.\\~C:- \V.~~~/:\\2J~1:::,\~ \.-\-Pi\<..t'<\ \0 ~\..)\\J\2.~                            A1t>\\\1'{
 ~oe.     \(\t)S,' \Ll~\\~ ~~R.C.\t--1                 L-. °?\?r\\-J.T\~c --t"D ~~ -P\\";-C.\L..\) Di's\                          L,~\t_., T\\~\L,
 b~ -~~\2... tv\\\          Yro;;ClZ-\?:,~ \'\\V;...-D\c..~,, o 1-J,                t:x:,   --ro   \:>Pr\'() i+&GG.

            \J~~ ~\')A-\-\T 1s. 'b ~ . --n~D '"' Prs ~'3c-c,.~, ·1"\p,.,,~\t.. w Sc.\.\ DLL~~''L A-~ D
          C\\
 ~~\\l\z...Ks\\'i C..O'l..R~. c:rl(~I--.\P-1-\ \\\:...t+\T\\- t'f\\2~ luc.\.\c"\ \2.\J\~~-e__s. \JN\ \.i'iz:...~sn--'--1

c..ol('JD\JcT s"cS"           \-OR-,\\ \Jt~e...E....\l-l to~s,\1 \)\~. I~             t~....\ ,~£.R.fff~ , \.:\'D \~~cz...e_~~c                  i


 ~~b t_Q._\.)'\1:._L \)..-N,"D Dw \JS\..H:i.-L \)oN\SMt{\W\ ,~ \t,t>L'A--nb~--1                                   Q~       m~~        ~\bY\\\-t
~~b ~\.)\Z_'\\~Sz...N\Yc ~'N\~~\Jt'i\~'\S \)~'\J\z..Q. T~ \)~\,~D ~'\ffi~S. lDl'1STf\Dt\D11,
I\1<.:\\ c.. L£    ...L, ?~~~      c.,.~?i? \\ \L o C: ~ ~~w CS--ITs.~'--\ CD 1~£., \\011 D~ h~ D
\[\D\Pr\\L.D           ~ 1\-ti?\i          ~"-I    t\SC\Z...\rn,w'4-,,hll... l+C:,.Y-4-,N~l k-                       b,sP.r'i?::i\~ ,NmAA"'(..
            \D),        ·\)'\t...~£...\,1.t)t,,;~,·s    ~~~'-1       l'Aw,~r.-N,        'f\i\f.\.Rc..DS D,          ,\.\-,c..'0:.; W\Ll,~
~D~DS, ~\'-1\:J ~O~N.                  Yow~_ L\.....      ~\2...~    \<.k-S~o\-..\s,~\~ ~iZ...-i '6u, ~l5\ Grn\T~
,D, SD?1"21Z'\l \c;, \sJ.L- ·\\\-,(... tb\1D\.:>c..T                  oG-- b<t...~~\(\D ~~,si bR--n-lrb\'<\ Prs                         ~8.."2..C:,~)




                                                                         \lo
              Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 17 of 22 PageID: 17


                M~n \\~ w Sc\\ u U.. ~\?..'-/ , f\-N.6 Cn1\ \/ U2..s1 cr'--I                                   C::D g c'i2.C-n D1~ ~ \         \\Lr-..\ -n-\-
 t~RL l\.)c\\c.,) \Z\{\ ~~-S \JN.\\Jx..'2-s,~ 1 1\-)'lD -~ f..c.S \~~<c_~DeC ~                                                               \>l\g..'\'1 ·-r6
 \J\o\.Pr--r,wl. Y\~\~°(\~<r -e.t[_.\-\T D~ t'IZ..ci~L Prt---\D \Jf\.\US\JPi--l \)01\\\S\..\-N\k.1~
 tD N- <:}'\ \ \ \) \ ~D \) ~\ \'(.)                     '22-~, \L..      \~ b \Y~f_Q.. ~Cv_,S:, '1"t, '\) \ Pr-l tJ;i t ~fl S 1-J EE.D S

 k~D "J\.b\...~~D V\~,ill'-~~'s ~~S'\\                                             w,, D1'1~\          \2., c..-\.l:-rs \J 1---1D~ Th~ ~lc,,hl\-\-
 ~~\) ~u ti\~v:..w. ~ . ~N\ ~~D \"i\~~"\ u 0-b ~Q___                                              m~         l) w_~--\\Ll~ ~ ~-r£S Col'\ S1\ -
i\Y\\DN          J     ~~\\cl(. I,                 YB-~C::-~Pt-v\\                \2.. b~ '\\JcfL_        N~w       °(flzJ(2..S,\z..,'--I b:)['-l"::.t,,i_.Yf\()('-1)

  ~\-J.t::i    \}J \   -c\\   ~~           ~t:> Pt .

               "N \\\z-\2..~_ID~~,               ~\\)r\N\\ (_:~ ~~b                 Y\)~ t\,--J-v_,        ~ G.-~\NS1 tis~wD PrN..1S i
 ~~\2..-~       u~,,Hc..-~1,L w\ u..., v--- ~oiAt::/:) i DR-\\\IJ'M h-S. b"0-.~c..~, V\~-rr~w
 Sc.\\_\) LL ~(2,~ )            \..) \'-\ \ \l ~i2-S \   '0-'\   eDQ..12..~ \ l b\1-.l ?i \   \\¥_.,~\m      ~t:\Vi..-   we\~CJ \2.\)\        6,\z'.,\2,S,

 \J1N.\\l\i...R.S\,"'\. 't>~~\),,-µ_L):, 3ut>6-·\'Y\S\--K\                               D1~-m,~           C'.bo~t" 9o\l. \)'.R,\-f\~(_-l\z..,t,)
C.D -~?\t.-N.S <?i-,bl2:---I ~\uD                       '?u 1'1.l.:'C\\J L-, ~ &-Pr\ N ST ~'c)()~'f_ -N~\N\~_., b~fw t:>P,-~"\'~
-f'D   lu~~v- w 1."\\\                           ,\--\,~Q,Q__,~,, CD':), 1\-n tY12-~ ~'--l's ~C-


                                                           S£..c.bt--\D            (:.c::,l)l\.lT


                ,1~           ~\Pr\N\\~~ Rk-f£.~T'S                               \\-\\7_     ~Ll~C:.-AT\l:>l~S DF Y~RPiL=RA-Pt-l
  \. l.., .:), k~D                 4      t,{:    -m~ ~\~S:.--:r               C.buhl\         ~s \~ S£."t" ~b~,\-\:                   ~\i.~£,\~              ·k'"\
 Lf.N.,:;.n\ ~ND \'f\l\\(.'2.S.                            \\\~\"i\       ~   \/Pt~-r         \\£K\z..o{;.

                 2..).        A-r f\ LL          -r,ro "--~ \-\:~~~\ hl f\\;-Tt:..K                      ffi\Z.t-.l,\o I'--\ ~u J   b~ (2.~t) ~N\'S
 :f£l'-' 1-..l I ~f..R ~ ~R~St-~D                                I   Ptt--iD ~N 6-t-LPr "ThbM~S.                      \D~lZ..       -r\-\~ tJUR.~
 Y\<..f\-C-1'"       t,   \DhlE..R ~                     Sounk'          \000~ S't"~,~                VR l s.e:, tJ..,
                  ~J., {)~             2 / r;; I 20 \2;, TR~N~~DRT'~t>                              Tb    st". '2R~t..\t\~          \\Ds~rr-p.,\,            °fC>R. ·

  ~ u·e.oLD(;- \ C, ~\                   e..,. s~~w ,~\\ 1'.l_\ <:, n~-hl                           ~p,-<;. .D.\jb<;,.\\OIN. ~~ou-C-            s~, Nr+-l
   C..o""R~ ~A-~AC:--~. s.\-\~                               s--r~,~.            C.."C",~e...-A-"1 c..Dwc..~Q.t\l~           S\?o--r o~          ')DDQ...




                                                                                      \ '1
                                                                                    .2\
                                                                    • 'SJd\f'1(7~--'Q'T3J ~ ~ IQ.Jo_),~~~~~ o1~ \~~5:-,
     Sll\K3Cll'Gj3Q jQ                   ~Q-\{\~\T~ca           w~(l\l,<"l 1.lS\\IICJ~1NG ~-\\-1, l~~tiov ~G ''"3\'\'b.(\'"2}~..l-,-
        - t-ll 'J.'S'S-S"rj C)...\. G'3 \ \-'rjic) 7.1\1 '"3\"\"""~ l~"J... '~""J Q1.f'\ ~ o~1\.                              -scrno \r-~ \~'J'~V'l
                                                                1
      SW"ollj'\"\'Ov ~.l~\N.0--::>CJQ_ aq ?-'3J..J.,'QW                                 '5'"-1- 'j1'\\~-z\'3~\:'-\~         "n'J\",1-'<;ll\'j,'z\~ "1\\J.--r)Q
     '3110W ~O""3NQ cr3~m~\\IA;/ ~(\.¾At\. ·~ru-o ~0<:m'"3.\M(Yf'l, C\\'r\J '~\"\\1                                                                     ~Q~\\
 I   ")-\ii \f\l Q~ "~ Q t+.!f'-\/          I   ~)"\:A\MqL.l. tl,3J \\f 'J             I   (i,rj_~4S~'Q'2) ~\\',I \'f3             5-- I 11"0'1' - W~ \7l \(YI
                         1                                                                                                     1
           1--~. 1.cs        ?3\~~ <r.:> --:3\""?IQ'N 1..Ll.:dll ·-aQ '-\J\'"3c.\:ld_ ""3'-~ w--a"J                     \\S        00 \..l. ~\   W-\\ '3'J~c!.-~
                                                  I    •
\'J-\-\?OJ 'S.l.N-\7'Cl~j3Q 'cr3f'J.9\.J.\"J3W a'3..1~~ N'3~~i"\ ')3\f\,\~ 17~                                                              .l.\J '(L
                                                              • "1~"5      'cJc. '2\.l:li;i,l."5   "5C:l.QQ('(\ \'\,-\-C'ICJS ~           <:,c) ~~ W     ~\    q _1..
        'J""J\I       -c)O ~~1--.0\~W~                     \,ca ~'"31\\°1           'Stj\'<\ 1:'d~ ..l.~WJL~cJJ,..                       \"'1\~\~?)\i\\ 77'7J
       '"3?l~7l.3 {\(J        Qt:J.\j 3 ~ \ (\. cf3 ~ (\ '5 Q_J_.. (-.l.<"'\ c:\ "31\.L             '.l~ji. O    "r<1       c::l ti\/ ""0~ \1:lc_ '"3)..--\IJ_c;
~            --\} .1.no:;s     -1..~- ~<J..:LTic\, ~         \--\ll "J1 ~'3W         --;3_l1~      ~µ         Sl /   <::;,.lcJ.rn t)G. l \ \crJ -~~QIJ.l '.1-til
-\)..ln~fS 'a(!_ '..11\Pcl."~~Q                       'Q3NC))J..N~\}J.              031-j~         N1~?.~-'y\ ")'°3\1\i\\_L         \1-\f J..-'u      '(01
                                                                                                                                                      '~()'SY~.
          ~1.-"\l.1.'S i><:S.C)Q(n        °"J..ooc; ..l..~    CS~'..\..'\'-=>-'d~          \<;;:f:)''\J3\}J   "3\U-    CS"j.)...~cib~() '"'l..'":S2(~j\\'N0
)?]]~JD~ jG           J..o-\:llc, -\f.   cs, '1~'t10\        'Q\-\'JOl '"37lld'J \\1,\\113\l                   \~~ouJJc:rziov                ~~of"\'N0
          '_l~'1m0~~ ·, G3\'\0U.~'?\~ o:M-~\"\ ' ~ \ \ '"Bw ,1. 77'1 J..-\f , l..>
                            . _l--\j\:)c_ll. ?lO "3''JG'31 ('{'G\'l1\ ")-'lj 0--L '3')~~6 \#~ 'S\'\l. jO ~
'3J_~ j'\1-\j 1'?}~ ~"\'1-\J 'T't"3W.OC'.Yn\j --:3~~~Cf)~ ~c;c\C\ -::\\\1- . ~)....).,~W. ~\'p('(l 1\'-\\
 -wr>ud"NOJ lf'l~~s "'->tj'-z'<o <Q"N-'rj '\\13wo~ca1 --:3-'J-\tri:J<J\<ct o-'3dd,C\ L~"'Jf'.ln7 f-110 j..QQS
  fl" Gl+' \)"'OV ytl\'"J1 c::r3W -snG,'d.'2V$)1 -d O '51m "3?~\~ ~"")Cf31 (Y\0\\1('\ '5c}~<:::,\)I\Q"l\~ j~\
...-\JJ-7,llj ti© '3CioOJ3~ \tl-:)\'13W ~f\\'3-:J""3a t)j\}.~\Jo\Q_ ',%\0-Z. '\~                                              ':'~\fl            NO    'ln
                    ·'3~\ll      ~ ,n<x-n       :\en J~ \...l-~~~ ~j'l -r,\                               '~..l-~..)..."S ~J...O't\_       'J.,\O~'-"<TJ ~~
                                                                    1
 '3Wtfv 5'tl WOtu- -ti ~-':)N'1j                       Q~-'lj           ~-lrj_L'-$~~\-'d-a      c:r?iD \ '\"I \'I°?).~ ":,\\).C\l..iJ Qt'IO'J         \~'J\G!\\('\
-soo,cC1S       ,   ~    -'-J\'\, QlG\\~\ \Y\                -a'"2.C\\ !'CT6ct '\"O'_l..~~0"0                   i,01./-311-z            -1.0o~ltj -zlO
               1
                                                                                                                                                             "'0
     ..l-'S3.C\~'e.o..       ~     ~_l..\\)-l"c\1':J          :3j\_J...,·\\-\::l\Q_ '(')'3~Hl"-OnQ               O.J....   )'\7-tlj_ S-"'J'N01
           Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 18 of 22 PageID: 18
                                                                                         1             1
    ~Q_ I c!_ \l ~-J-~ ':ll. ~- \:)1 )-\""'J()O \\1. 'f" '3 I'""1_                           V\Q'"[ S L.               0 ~<=c\\N\~)_~'3 S ~ 0 ' \ f1
                                                                                                                                                          '~l"-3W               ~   ''dJ..
                                                                                                                                                             1
       - a3J '7 T'{          I \..J\J   C\'-5 "1   Ov         ~J..:j \j Ji'\ \j_' '"1 <J f\ ...l-\"t ~.J_ "f, \ S ~3Q_ r S {'l 'tle,                                ,_\ 0 -tJ, \N ()J._S
       '""3~'3 f'\"'3 S ' CI21~ 0 3 c\3 f\"3. S q.J,... q C\ cr?l~o ~W \                                                   ,J..3    \ Q, \ '\} 'J \ ,\'""3 W >t;/ ~ M \\
                                                                                                               1
               OJ_ J_ J3 Cl t:7'"3a -'rj CI:U.J.., w. "'e IY:5 j j 1...LtH\I \ <l_                                     :S \ 0-Z. ' b -Z 1'.'J. ~ ~ Q                     '(a.
                      • Q. -~ • f"\ •~ . 1.:\1 Z\· 3 \'-A q\J_ \.P't}.c:\<l_                     '"3":;;c.\C\ 1'J ~ ~kl r<I Cl~l W\jA 1Q 'd 1c)OJ.:~n                                   J\
              SJ..r,t-\il ci~'3-j~'t I CJ.~ N 0 1.1"""3 v-t cY"3J.-j\f "\\I, ~a'3't\ s '3 ~ '..l                                                 11->v ..1-y •Cl-
                                                                                             . "jCJ~o~                  .n~~          "\I       \)$3µ -=s'3r\"'t}W '-'"11D
    ,-\1.:::) t'-1~7 .J.-1 t'l\~o~ 17J..00a                           _l.'"?>"S   -3\" s~ ..i\'{ ClO'J                 __l.,'5~ \j      "3\;\.L j        Q        h     Cl~'/ ·~       f(..
      \ \ \\ <! tl <)-'=J lrj'"c1~t c3 G             ~~Cl\ _J..~ '3:11 ~ t}3I-\J_                          s .J._tr3 d 3 'd -j j \..l."'1 l \:,l ' d.                        . l\
                                                                                  . J.J'"\J (l GJ   ~ '-cl    '\U-
                                                                                                                                   . "S~?l-j <;, h'3\"'l~Q~- CJN\j
                                                                                                                                                   1
( S.JSClJ '...J-";3'"2.\3..l"'\'I,             r\-1-\ C'f\ o3t\-l'Zi"J oj_              «5-\:f.--W o   '\""\.l. /, ~~ 0\1.l- \"I \j                    "5-t)WCJ       \'l-   "11'3 'J ~~
                                                                           I
        1   Q \il:s~~-'Q j ~-j, N\'-1"3.S, c.ZBq\CTJ -'"3\'2\0\,N\ 1_.l.-t}7 · <3~ 1 1'-'() ~ '~ '"3.):'Q.l. i S~OOCC\ l,.lS"\<"15'
    r"SQ"'1Q~ '3\7ll('t\ '~"10\).'J~~'?"JQ'J -jEJ ,...l\"\r)\J\\J.."2ltjc'"3Q. 1','?)~c:..0,S:. ('(1'3t\ '\\1-'v\"'Jl"('l~\ Ac)"d-;J
(?t\':7(1            "5.J.NAct Q"\'W3j ~ Q                l <;;N\-tl'j -\I ''"3 I\ 1J_ \ {'I Cl~ q~-\f h?1 gJ_:\j 'S ~ ~t \J'-.\0 ~ ' CS?,") 'q \)._).~~
                                                                                                               \
       ~CJj l"'"cr.J "5'tU Na                                 ..\.\°\l3VJ"?Cl0J:       cs c:.it\~W~Q j;:\ 'J.1'l'·~n0.                          ·~11<12>~"'cl!\.,,~
                                                                                                                                                             1
                        · l?4j hl' ,\Co. .Id          -s, G. w, m                 s ~"il"J10-:3W~ ~'\\L                   ~        11~CT\ s~                     ~CJ\J,,<1>-'>-SNO'J
                       J0S'2B.S: Cl\"3\'{ "3\\J.                   j~ c.\ \\e\j"'z\-"'J-'CJ"cl\1a 'I.                    ~7:n.1-n~               CY,~      't'\Q\j..0,.i.ll-S\'t()'J
        ")'3.l..\t..l."S C:BJJ T'I (1        ":l.t\.1-- j      Q ...i.,~°5 \N Cl t-1?\ \N    '\j '\"\..l.\\~ \ ~ ~\U-                c5q ~ n ~ ,..\..\\ j \ 'l\ '\ 'J ~Cl' .l--
       - (i J_.\_l..S \'iOJ     '5.~ j \_j_"\'Hkl \<i CP-\J.-"'10\ I\ C\':{-\j 1 "SG'?>':.\"1                          \~\(1:l\}ll          <;()0\~15 S,                J~ \:l."(\\\~ \<1
                     O..l.. '3'J~'3Zl'3jj\Cl ~\ ""3.J.,--\::1~-q,~Q_ d"3,l.r\j..\.l. S~Cl'J                                             "-::>\1\m          '.1,-1'3W         \'\S \,'-IC\i
                       ,~C\'S0\'l(l Q'W'i/                     7   '3(\'?:Y~      cu.. j-c'J'l~l"""\d. Q'j.J.:J'3J:;Cc.0~                               ~('¾\\\              "S'Z31U-O
        SClOaG \}J,(l\'\ QN~ , t'f"'3 ~                          'l   ~Cl"117 '~-lrj.W017J- /.~<Y\\..1\"l"j                                 I   '$.Id W\Q        \'J... 'rj 131 i't 'V
                { q\:)J..5~'2:l-\J ~ o'r3j 't'\\'-\'"'?.j:,                '11"Q\t\ - w~ 171lCT\                        f--.?,l,;J)...$ r\-}?i,"'2.\"3c_          "3'71<:!W~'or\ 'S
            ( Q-;J   US, \   w~         '?!?-ti           r
                                                  ~v --zr~ \ \ \ O'J -'3-z\ G\}l ~'l7 .Q Cl                        I   ~ (J   cs \c\i   ""3~-\1.l,'3 'S<\.OOCf\ ".l..("")(l             s
     l'5c::J\\\O~ '3111\(Y\ ':51'JOlL~"&!CTJ -jQ ,..l.~"\J\.\.1.~~<S5C\ h'3~S "'~ti l\"'1tJ/'J1N""'l "'<).'rJ.~
I   'C?t1 'J ff) '5-l"t+\-J Q\"J:3-j '3'1_            I    ~'"3 N     °u.~ \}\\         "]'"3.l-:Y\I ~ ~'3.\\, ')~ \)-1 \j_ 11 "(J                               J_"J    .(i
             Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 19 of 22 PageID: 19
       Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 20 of 22 PageID: 20

               q/1s/10,q:                   ,e,          2.21.L LnL \lo\-b,~-r d/w                                    v,,   I\~ C.. °'/:S/201~: 5 .. 8"
 - \)\~t       d/w wT,                 ~ 'b.           b' l\.'t-<\ \C..01           \i\£..D \c:,A-\ R~k-D" "b \~-r kl-lo ~ \!:.\c...C'..,\ s.~1
 l\:LONic.,.., W\'\'\\; M,~\;)\C.,f\t''IDN e.D'M°t>\LQ.NC.~.                                       '?\.    ~?rS. 'c)'iz..~ c;.~_Jr'.-''1   b'-I l\luTR\-
-'( \ D ~ ~\   v::-~\ n\l     Q.tt.,C,,. ~~ s. 'TO                 \.J\"~L.          beo~R.lli       \.\~~\Tl\~        ~Rr ''S,T~l'-lD A-R..D 'I /'i-N.D
S\:\.DuL~ ~()\~ \J'h\ hl c.,, SA-Uc.IL P.-\\lD OT\.-ktt \··n~..iN\~ n-\:~-r \.Db\2.~£."1 R~ p) L) ll,
S~uC~ ~ b ~~-J\.-\~ \~ Q.u~"'t"\.OU P..R..~                                                   ~~-e..-J~"D         Lo TO f'l_ llN\£.~ 'A- W~>
\-J\S. '\hc:,D12.1A t)\'A-\N\.\C..O I\\S.b                               S:..7:'fli-,~ N.-S\JDG \)c,\\O-l \S WbT" --ro                         ~t>P\2-0"\JE:-
 ~\l.RD      \J \~T     I    () 'i2,    ~ \.L~&\ c....          b \'L\          ~

           5) . \J E.~ 'l..\~~ t>r\'-\T -:s-\ \.L 1A--1\l \ ~ N.1\l. ~\2.                           0 \~    A:; u G-- l) ':5\ \q 20 Iq
                                                                                                                                 I            U)   1-\ 0 \ s.
 "b,'0,,,\ ~,~              P-r, ~. w.S,.1>                   ~t>uc..\:\              N\fuL)\ e,\D,-\   DDc..vro~i\\.--rs.       \1~DDRro~"D

""?\,l\\\~\.c f, "R-,(..~~\2..€..K\LJ\!... '"c. i.\                  .bcb"\l\'S~          ,o       ~'\\6\D ~DD't>S C.0~£. ltYf..,\<..ru                   \~\2..\\~til~.
"bo CL) IN\ "-.t'1T ~o O \) S J+<s ~ ~rn ~N.'D ~ l) ~ S '(\TU\I£-                                                       W \ \\;¾-    Co ffi \'V\ \ ~~\Pr\<.'-l.
 ~ ~ bO C ~~\\c--1                  \\,\cl:-\ tc\£..C.. \J ~'l. ~£;p.. (;2..1 ~Pt\T\-l-~ b \'i..-t \<; f\-D £{;).A \JI£.
                                       \ \\-\    W
fo \Z.. C:.'I. "t '- q, D\2..~~e..s., --r o L~\l..'C4-T~ 1\-1\\.D ~cc..:~..,vr- ~"LG.-u \\'~\Z- ~\Tl-\ 'I \\~6"
'b \~\ fit-<;. DW£...\2.£D, ~"                               l)t\}      \J \ '!:. °p0\~D \)A-C"fS.            L       ~N\ ~ l \ \ \ ~ T6 Tul<la..

\\f\Q_A,\~ l"-\-~P'I'-\ UJ\,.\\Ot)"{"" ~\.l\t--lG- TD ~SCD'N\(L ~:ACK.,

          (o). f¾T          /\-LL T\N\~C,,.                ~e.,\~ l\.~T\ci2.. N\~1-..r11b}J~D, b~9£.-t--lDA-1'1T,
 Ul\l\\.l~Rs.L,'/              C..oR\<f~e,-·no~~\ \-\~A-\T\-\ ~R~Ll)(\..\\,c,"),                                            \JJ\+\c.~ \~ Pr l?f\-'-<-T

 D~ 't\J\b-£l1-S L)~l \/ ~12...S. \\~, DP~~--r~<; 'T'l-\:"£. \"f\~D \· e.,\c,-\ ~AC,\\ T, ~S. ~T £ot.5G-\:
 \rJOODS 2:>~'Pi'\"~ \{2,.\{l. b~                  I




         17), k\ 1\--LL 1lM~ \+8-Z.tt.-\1'11\-IT~                                                                 'b~9-EN.~F+N.1, D~, l.mt N\0\2f.-
                                                                                             N\.~\--.\\\0\-1\c:-lJ1
C,DLltlz..(2__    IJJ~'S/\S             ,m~             <b\\~ ).'l.8:)\e.,?r-\ ~\~DQ....                       !+,Soon-\- W60D5; S:,R-·n~:. .
V~, ~DN.         1\-~D W¼b ~t:i "t°~L                                   0\)<'f'--/   Tb S,u~\j\ S.~ ~ b 0'\J~c..~\L'L                          A:,IJ....,
M \z.X:) , E-~\ \~~:.x~TM\LJ\-\T -n.\-li:I.-'\"" w~ s ~\\} £,~                              ~'-\    ~ N\1> \ o'-/ "'i.-~~ o~ Uc.\\: c,, --ro 11--l rn f-\-~S.
~1 ?,O 0\¼- \).)()()t)S,                $   l"?r,~ -~(<..\ ~DN> •

          g).     k T' P<LL II\"(\£.,<;. \\~~ \ l'11\-~\k.-R. t{\~ ~ 1\ D t---\ED , D \2..,~£.NiD r+NTS
 w \LL\'-        ~ o~o ~ , *C) \i\ 1--l \:'6 w ~ \I \ c:fo "CZ.-\ ~ b' 1\-N\\c.o , CT , lL1 ~w. ~ ~ \J ~R
                                                                            i                                                                         1

 ~N.t\A-\)\\\.'-l TU.DW\iv;., "°'C>c\J\L.- I\-N.~W£-\C..fu~ o~ I\, T\\S\<..~ _ , , u.'.)l~~s ~\/ Th~
 b   {LS, \(,, \,.l ~        \..\-p.. \I ~ !ht-\-l t) ~                         0 ~ £. 6 \2. \"{\De.~ b        C --r-\\-'Q.. ~e.\f '4-N C\'.Z... S
 L6\~C.,Q..\2,.N\'N.~        1"\\.\c;           \'{\fl,---(·nz.,"e.-,   me-I          ¼-\1\\1£.,   ~LL     ~Pr\\luD 'TD ~':::IS.\St", 1"1'\€.R..\\W-C:,1



                                                                                       20
                                                                                            \-Z.
                    ~~    O<l.q_       "Sd\\"'I \ t\ -:> l'"21"3
                                         ~--13
                                                                   , •=~r:\"3-j <; I /-<] 'l'l c) (J _l,_1"\f Q t-).--'tj     I   s J.-S er.)       I   _l.'5~_\_ ts\\       ",1_\0\ (
        7)3~:::.> O.J.... , ~~WIQ"-1-                         hl'ICJtl1l'i':f vzr.3t'l\'\~_L ~Jo. '11 '.t- ,o--:i,w~ ,<\. ..>rj 1--ooJ.?\ {\ •~r~rY\G'J
         -?Jc\.O\AAl.l:'7 ·a~ -1 1,,-:\+'"3CJQ                    ~~OS: ''Tf30'o0 t-1-\lor '5c:i~o'tl ""3\11""' '-=s~CJI..L'J"3-z.Q1G'J
              dO J..~W..l'cl-tj<t~Q K3\<nG..S: 01"3~ 1 'S?'\'J'\\ ·:o                                     ~0J<.\-\:J   w     '\'l't\"'J, \'1-'dl          ffn'QJ '\? ~'JC\l
                                                                                                                                                1
      -SJ..TttJ ~f'J'3j'3Q J_,'SN 1-\d--c,) 'tj r-:3 f'--:U,-:J:NC1d,                         QN---'tj    h'a<) ..\..-'0:'5 1'\::\ c\ W. ~              )~~1j Vv-\1 ~ c) Gj
         _JJ~t'\CYv S \-\\-!-- ~ Q                 ..1~'3~Q ~_£ ~ C]l'l-'tl ~Q, j""J \1..~ \'o. \Q I '"3"b~ ~?)'j.\\\'J\.
                                                                               ,.1-"J~      hl..'\, g     -B. -s,~
                                                                                                   "5~~·-:A,f~\lJ'\\ '"3\\1. -=:,'1
                                                                                                                      "'.1..,m
   '71'30\ <;~ 't-\q\~<U.')..S\\IO'J /-r~~?).3_52. CT\'"3t\ ~ -jO 1.\ "Q-tlo;)-B."tl-\1(\                                                                  'l      :\1--:J\_l.c:)~
       , '11'1-\f ''ti() 1J._0__v J."b N C'J                       -s'"j.1-t).1.,~ cr3_11    ""C\ :)W--1 o              _J..tt3\M Q~W-\j                    11   1-"~ ,~ '31\.l--
  ~3.~No S-\--\"\-:)1'ct '\-'dt'\O\.J..(")__l\J..-S~<J'v                       '5,j-j'l"°''~\Q Gl~..i.~Ql I\                        C\~\~ ('S~~N \'t\-::>\~~\>J.
   50q1~s s, 0jlJ.t'-llkl\<i 0.1- '?i-:)\\!3o5jj'~\'l'                                             '3J..,tj.~~~'1?.C\              G'"3.l"-1-'.l-'vt-lov                 WJ'-\\°'
       '_l~'::! Wt\ '5 \ ~()d._               \'~, 0 'SCll'-1(\ ,:)\\.\--\I '1""3(Yc::l"J            q_J....   -j~~N \-\1 \~. G~ )..."J'3~~C\~ '?i\i'-'O'\\
'StMql..L 1"N(){i .11:'J~ 'o3N ~-\:LL tfkl '11 '.S:                              t (r,)   \\J..\-~hQ kl l"c:)O.l'J\ )\ '7)'!\ '11 <l'J -                ~~ow U-~J\1 ·DC\_
                                                                                                                 ,                                                                     I
         l   \~'30\l: tt\\,Q_I: 1 {\C'(\ t'\1'0J;.                        'lf3"10d             ~'f\O~ ( '$~i'l<ilq '"3\\7l\('(\ l~~OU,':0c:h)G'J
                        j 9 ..H'l"3\1'\J:Z1-'Q<J3~                 ,----~-sm_s: ('<):l t'l ·"7:>\·;:J\17 -a           ~   rDc.l\l r\ 'N~<=)'""'--tll f-. ~'d~
  ((Jt'\ 'J<Y")           'SJ.f-l-BQ~~Q '03~CJU-ITT'fl_ o'3.1,~\'I'~~ CS~\N\ \J_                                                          m               ...l.-\j '(Q\
                                                                                                                                                                   ''33'1\<J'J
  ~'3"2l OW Llt11         'cl<:I.    ~           '?)'3\ti't'\-\:1..l.. ~'rj 'll 'J; ' O7'\JJ.ld ,'1 ~ 1-ZKJJ..~, ~                           \,'c         Q'::} Wc)\j        \'le~
               ~~m             'S~~ '3-1.-t) w ~,n 0-1. J..~'Ci 'J~~o"311~ do                                             '.1.~'C\       Q~?\'J " ~                      /,\'\'?iCl,
         Q-1..        f-/J'\\Oq_          ':)Q<:::l_~t'\       he&       QY;l\_jf\,l.1_1.'SNl ~~ '5\~()Q\}\\C)\'\\ ~~~ ~1\0~~
       ~-t\.l... c13<l_' ..l.'\l lU- (.,') o(1                 "3~,~~~                t\l-1~"             -jQ <)Cll----::131).\~ \ ~~o~                     ~ia_s:,         'C\0\
    \'I 1'°i'..       (~ (6\<¾ \'l ::y\ Q~ \ "5 ~Cl<a                      ~ \'T) ' ~          I "))\-;J \"'     . Q ~ (Y;)~-\).     w. \ t'l '11\~ '~ ~l                h(l ~-<J
             -sw-Ba"\'\"3-j'"3~ • Q'3 f'\Ol.J..n~w.                              c\~~-\1 ~''3~\\ ~'1\ w 'J.. !Yv                                          J..~ •    Cb
                                                                                                         . ~'3\"\ "\'\~l
                                                                                                           '1' ,_s:           ~                          0. () I O'J \ \}-}-.\I. '~
              -1d   \'2} ()J.."J \   J\. -j CJ   4 <:J \ I\~ \\-'tl ~ \Al N ~ \ J.-"_j,' 1 S~ <n 'N(\ ~ .l.. ..l-':>-~'1'2\ CQ                                    o C}
              Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 21 of 22 PageID: 21
Case 1:20-cv-03183-NLH-SAK Document 1 Filed 03/24/20 Page 22 of 22 PageID: 22




     8.       Do you request a jury or non-jury trial? (Check on1 1, one)

                               (v{jury Trial ( ) Non-Jury Trial


    I declare under penalty of perjury that the foregoing is true and correct.



    Signed this         (o      day of        MA-R.L.U          , 20..2:. 0




                                               Signature of plaintiff*



   (*EACH PLAINTIFF NAMED IN THE COMPLAINT MUST SIGN THE COMPLAINT
   HERE. ADD ADDITIONAL LINES IF THERE IS MORE THAN ONE PLAINTIFF.
   REMEMBER, EACH PLAINTIFF MUST SIGN THE COMPLAINT).




  DNJ-ProSe-006-ProSePlisCvRghtsCmpFnn-STANDARD-(Rev.05-2013)                 Page I'
